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                                   6                                   UNITED STATES DISTRICT COURT

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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                  10   CHAMPION DANIEL MUTHLE,
                                  11                     Plaintiff,                           No. C 19-06124 WHA

                                  12              v.
Northern District of California
 United States District Court




                                  13   SAP.IO, et al.,                                        PRE-FILING ORDER RE
                                                                                              VEXATIOUS LITIGATION
                                  14                     Defendants.

                                  15

                                  16         In this serial trade-secret litigation, defendants prevail (again) and ask for relief from

                                  17   further suit by pro se plaintiff Champion Daniel Muthle. The request is GRANTED.

                                  18         Prior orders detail the facts of the case (Dkt. No. 42). In brief, pro se plaintiff accuses

                                  19   defendants of infringing his intellectual property. In April 2017, Mr. Muthle disclosed a pitch

                                  20   deck to solicit defendants’ investment in his business venture. Defendants released a product

                                  21   shortly after which, plaintiff alleges, was “a virtually identical, mirror-image” of his technology

                                  22   (ibid.).

                                  23         In 2018, Mr. Muthle or his counsel (at the time), sent several letters alleging defendants’

                                  24   misappropriation of trade secrets (Dkt. No. 61-1 at 22) culminating in a June 2018 cease and

                                  25   desist letter threating legal action (Dkt. No. 61-4). Defendants filed for declaratory judgment in

                                  26   the Central District of California. SAP America, Inc. v. Adheat, Inc., No. C 18-05764-JFW

                                  27   (Dkt. No. 61-5). The parties settled (Dkt. No. 12-3) and on October 4, 2018, agreed to drop all

                                  28   their claims against each other and walk away peaceably (ibid.).
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                                   1        In June 2019, however, Mr. Muthle sued in Santa Clara County Superior Court, Muthle v.

                                   2   SAP.io, e al., No. 19CV349552, and defendants removed to this court (Dkt. No. 1). Because

                                   3   Mr. Muthle did not reference the prior suit or settlement agreement, an October 31 order (Dkt.

                                   4   No. 42) converted Defendants’ motion (Dkt. No. 13) to dismiss (which relied on the settlement

                                   5   agreement) into a motion for summary judgment and gave Mr. Muthle the opportunity to take

                                   6   discovery to test the validity of the settlement agreement.

                                   7        Mr. Muthle then filed three oppositions to the motion for summary judgment (Dkt. Nos.

                                   8   16, 44, and 51), a declaration swearing the settlement agreement was invalid because his assent

                                   9   was garnered via duress (Dkt. No. 52), and his own motion for summary judgment (Dkt. No.

                                  10   34). An order dated October 31, 2019 stayed briefing on Muthle’s motion for summary

                                  11   judgment (Dkt. No. 40) and a November 22 order denied Muthle’s motion to quash the stay

                                  12   and “request[ed] plaintiff . . . not file additional motions until SAP’s summary judgment
Northern District of California
 United States District Court




                                  13   motion is determined unless plaintiff feels the motion is necessary for proper resolution of

                                  14   SAP’s pending summary judgment motion” (Dkt. No. 59) (emphasis added). Undeterred, Mr.

                                  15   Muthle filed a second motion for summary judgment (Dkt. No. 65) and briefing was again

                                  16   stayed pending resolution of the original motion, by defendants (Dkt. No. 68).

                                  17        At a January 2 case management conference, both Mr. Muthle and counsel for defendants

                                  18   acknowledged the upcoming motion hearing. The January 23 hearing came and went, but Mr.

                                  19   Muthle never appeared. Noting his absence at the scheduled time, 8:00 a.m., the Court delayed

                                  20   calling his case until approximately 9:00 a.m. Mr. Muthle still absent, the Court again waited

                                  21   and called his case shortly after 10:00 a.m., but to no avail. Defendants submitted their motion

                                  22   on the papers, and an order granting summary judgment issued later that day (Dkt. No. 73). At

                                  23   the close of the hearing, defendants requested relief from further suit.

                                  24        Mr. Muthle himself triggered the first lawsuit by accusing defendants of trade secret

                                  25   misappropriation. He then sued defendants again — for the same alleged conduct — in

                                  26   violation of the settlement agreement. And Mr. Muthle’s failure to acknowledge the prior suit

                                  27   and settlement in his complaint (taken in his favor as artful drafting and not deceit) bumped him

                                  28   forward to summary judgment where he filed multiple briefs, motions, and had the opportunity
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                                   1   to take discovery. Yet Mr. Muthle failed to appear and prosecute his case when the opportunity

                                   2   was presented. But, to be clear: the order granting summary judgment and this order are

                                   3   founded on the merits, or more precisely the lack of merit, not on Mr. Muthle’s failure to appear

                                   4   at the hearing.

                                   5         This order holds Mr. Muthle has had a fair opportunity to bring and have heard his claims

                                   6   for trade-secret misappropriation. Mr. Muthle shall not file further complaints against any

                                   7   defendant in any state or federal court, arising out of the April 2017 meeting with defendants

                                   8   and alleged intellectual property misappropriation thereafter, without prior approval from the

                                   9   undersigned.

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Northern District of California
 United States District Court




                                  13         Just as the undersigned prepared to file this pre-filing order, Mr. Muthle filed an

                                  14   objection (Dkt. No. 75) to the January 23 order granting summary judgment to defendants

                                  15   (Dkt. No. 73). Mr. Muthle claims he was not informed of the January 23 hearing.

                                  16         This is factually false. On November 7, Mr. Muthle requested electronic case filing

                                  17   permission (Dkt. No. 45). A November 12 order granted the request (Dkt. No. 46), and a

                                  18   November 22 order set “[t]he hearing on the summary judgment motion . . . for January 23,

                                  19   2020 at 8:00 am” (Dkt. No. 59) (emphasis omitted). The electronic filing receipt confirmed a

                                  20   copy of the order was electronically mailed to Mr. Muthle’s specified email address. On

                                  21   December 3, he filed a motion for clarification about the November 22 order (Dkt. No. 64) and

                                  22   the electronic filing description of the motion explicitly referenced the docket number of the

                                  23   prior order. Mr. Muthle, thus, had notice of the hearing.

                                  24         Even if he did not have actual notice of the hearing, Mr. Muthle was served with notice at

                                  25   the proper email address. His notice of a new address (Dkt. No. 74) does not undermine the

                                  26   sufficiency of notice sent to the proper address at the time. Notice regarding the January 23

                                  27   hearing was proper. The order granting summary judgment (Dkt. No. 73) and this order will

                                  28   stand.
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                                   1        IT IS SO ORDERED.

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                                   3   Dated: January 24, 2020.

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                                                                                WILLIAM ALSUP
                                   6                                            UNITED STATES DISTRICT JUDGE
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Northern District of California
 United States District Court




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